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    Counsel for De Lage Landen Financial Services, Inc.


                         UNITED STATES BANKRUPTCY COURT
                              DISTRICT OF NEW JERSEY


    In re:                                             :      Chapter 11
                                                       :
    SHAPES/ARCH HOLDINGS, LLC, et al.,                 :      Case No. 08-14631 (GMB)
                                                       :      (Jointly Administered)
             Debtors.                                  :
                                                       :      Hearing Date:
                                                              June 16, 2008 at 10:00 a.m.

             NOTICE OF VERIFIED MOTION OF DE LAGE LANDEN
            FINANCIAL SERVICES, INC. FOR AN ORDER GRANTING
     RELIEF FROM THE AUTOMATIC STAY PROVISIONS OF 11 U.S.C. § 362(a)

             PLEASE TAKE NOTICE that De Lage Landen Financial Services, Inc. (“De

    Lage Landen”), by and through its counsel, LeclairRyan, a Virginia Professional

    Corporation, has filed a motion seeking entry of an Order granting relief from the

    automatic stay provisions of 11 U.S.C. § 362(a) (the “Motion”).
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           Your rights may be affected. You should read these papers carefully and

    discuss them with your attorney, if you have one in this case. (If you do not have an

    attorney, you may wish to consult one.)

           If you do not want the Court to grant the relief requested by the Movant, or if you

    want the Court to consider your views on the Motion, then on or before June 6, 2008, you

    or your attorney must:

           File with the Court an answer explaining your position at: Clerk, U.S.

    Bankruptcy Court, 400 Cooper Avenue, Camden, New Jersey 08101. If you mail your

    response to the Court for filing, you must mail it early enough so the Court will receive it

    on or before the date stated above. You must also mail a copy to: David W. Phillips,

    Esq., LECLAIRRYAN, Two Penn Plaza East, Newark, New Jersey 07105; and

           Attend a hearing scheduled to be held on June 16, 2008, at 10:00 a.m. in

    Courtroom 4C, United States Bankruptcy Court, 400 Cooper Avenue, 4th Floor, Camden,

    New Jersey 08101.

           If you or your attorney do not take these steps, the Court may decide that you do

    not oppose the relief sought in the Motion and may enter an order granting that relief.


    Dated: May 21, 2008                   LECLAIRRYAN
                                          A Virginia Professional Corporation
                                          Counsel for De Lage Landen
                                                 Financial Services, Inc.


                                          By:    /s/
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